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UNITED sTATEs DISTRICT cOURT F"'ED `“""% M.
Western District of Tennessee OSJUH f p .,_
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EDDIE D. JETER
Defendant.

:97CR20239~Ol-Ml
:97CR20240-Ol-Ml
:97CR2024l-Ol-Ml

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Eddie D. Jeter, Was represented by Jacob Erwin, Esq.

It appearing that the defendant, who was convicted on February ll, 2000 in the above
styled cases and was placed on Supervised Release for a period of three (5) yearsr has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of seventeen (17) months. Each above indicated
case is to be served concurrently each other and concurrent with case 2:05CR20014-Ol for
a total term of incarceration of seventeen (17) months.

It is recommended to the Bureau of Prisons that the defendant be incarcerated at
a facility in Memphis, TN area.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release. All restitution and other monetary penalties remain as previously imposed.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshal.

Signed this the Léj day of June, 2005.

s Q…f
i./ .L
J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

. . V
Defendant.§ 33 NO_: 426_94_0203 Twsdocumentememdcmthedockmshemlnco§pqamH

Defendant's Date of Birth: 09/04/1946 WHhHMsS§andmrSAb)HKkPon '
U.S. Marshal No.: 16203-076
Defendant's Mailinq Address: 305 South Bellevue, #1006, Memphis, TN 38104

   

UN1TED sTATEs D1STR1CT COURT - WETSEN D1STR1CT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 168 in
case 2:97-CR-20236 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Carroll L. Andre

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Honorable J on McCalla
US DISTRICT COURT

